Case 1-18-13675-bhl   Doc 6   Filed 11/01/18 Entered 11/01/18 12:48:33   Desc Main
                              Document     Page 1 of 5
Case 1-18-13675-bhl   Doc 6   Filed 11/01/18 Entered 11/01/18 12:48:33   Desc Main
                              Document     Page 2 of 5
Case 1-18-13675-bhl   Doc 6   Filed 11/01/18 Entered 11/01/18 12:48:33   Desc Main
                              Document     Page 3 of 5
Case 1-18-13675-bhl   Doc 6   Filed 11/01/18 Entered 11/01/18 12:48:33   Desc Main
                              Document     Page 4 of 5
Case 1-18-13675-bhl   Doc 6   Filed 11/01/18 Entered 11/01/18 12:48:33   Desc Main
                              Document     Page 5 of 5
